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                                                                                  United States Bankruptcy Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                      IN THE UNITED STATES BANKRUPTCY COURT                           October 13, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

                                                         )
 In re:                                                  ) Chapter 11
                                                         )
 ALEXANDER E. JONES,                                     ) Case No. 22-33553 (CML)
                                                         )
                          Debtor.                        )
                                                         )

                ORDER GRANTING TENEO CAPITAL LLC’S
          SIXTH MONTHLY FEE STATEMENT FOR COMPENSATION
      OF SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES AS
    FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED
   CREDITORS FOR THE PERIOD FROM JUNE 1, 2023 THROUGH JUNE 30, 2023

          The Court has considered Teneo Capital LLC’s Sixth Monthly Fee Statement for

Compensation of Services Rendered and Reimbursement of Expenses as Financial Advisor to the

Official Committee of Unsecured Creditors for the Period from June 1, 2023 Through June 30,

2023 [ECF No. 450] (the “Application”) filed by Teneo Capital LLC (the “Applicant”).

The Court orders:

          1.      Applicant is allowed compensation and reimbursement of expenses in the amount

of $60,678.56 for the period set forth in the Application.

          2.      Debtor Alexander E. Jones is authorized to disburse any unpaid amounts allowed

by paragraph 1 of this Order.



Dated: ____________, 2023                     ____________________________________
                                              CHRISTOPHER M. LOPEZ
               August13,
               October 02,2023
                           2019               UNITED STATES BANKRUPTCY JUDGE




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